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Transgender Student-Athlete Participation Policy


Transgender Student-Athlete Participation
Policy
UPDATED MAY 2024


At its January 19, 2022, meeting, the NCAA Board of Governors updated the transgender student-athlete participation policy governing
college sports.

The new policy aligns transgender student-athlete participation with the Olympic Movement. The resulting sport-by-sport approach
preserves opportunity for transgender student-athletes while balancing fairness, inclusion and safety for all who compete.

Like the U.S. Olympic and Paralympic Committee, the updated NCAA policy calls for transgender student-athlete participation for each
sport to be determined by the policy for the national governing body of that sport. If there is no NGB policy for a sport, it would then be
determined by the policy for that sport’s international federation. If there is no international federation policy, it would be determined
by policy criteria previously established by the International Olympic Committee. Sport-specific policies are subject to ongoing review

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and recommendation by the NCAA Committee on Competitive Safeguards and Medical Aspects of Sports to the Board of Governors.

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Phase Two – regular season andinchampionships              Heco ed June
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                                                5  8  3a the sport standard for documented testosterone levels at three points in
Phase Two of the NCAA transgender student-athlete participation
                                                    1meet
documentation that meets the 2010 NCAA policy3
                                            - season; 2. Prior to the first competition in an NCAA championship event; and 3. Prior
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time: 1. Prior to any competition during
to any competition in the non-championship segment. See the transgender student-athlete eligibility review procedures for more
information.


Additional flexibility
The Board of Governors urged the divisions to allow for additional, future eligibility if a transgender student-athlete loses eligibility based
on the policy change, provided they meet the newly adopted standards.

The NCAA’s Office of Inclusion and Sport Science Institute also released the Gender Identity and Student-Athlete Participation Summit
Final Report. The report assists ongoing membership efforts to support an inclusive environment that promotes and develops the
mental and physical health of transgender and non-binary student-athletes in collegiate sport. The foundational principles in this report
will be developed further in conjunction with the Committee to Promote Cultural Diversity and Equity, CSMAS and other core
membership committees that address gender identity.




   Transgender Student-Athlete Resources
           Transgender Student-Athlete Eligibility Review Procedures
           2024-25 Fall Sport Testosterone Thresholds and Championship Submission Deadlines
           2024-25 Winter Sport Testosterone Thresholds and Championship Submission Deadlines
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         2024-25 Spring Sport Testosterone Thresholds and Championship Submission Deadlines
         2023-24 Spring Sport Testosterone Thresholds and Championship Submission Deadlines
         Clarifying Application and Next Steps
         2010 NCAA Transgender Participation Policy
         NCAA Inclusion of Transgender Student-Athletes Handbook
         Gender Identity and Student-Athlete Participation Summit Final Report
         Medical Exceptions Procedures and Form




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